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               First Principles


      Location
      2 – 4 November
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Addendum
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Executive summary
This report documents the proceedings and outcomes of the First Principles Review meeting on
the search for missing Malaysia Airlines flight MH370 held in Canberra from 2 to 4 November
2016. Participants consisted of experts in data processing, satellite communications, accident
investigation, aircraft performance, flight operations, sonar data, acoustic data and oceanography.
The purpose of the meeting was to reassess and validate existing evidence and to identify any
new analysis that may assist in identifying the location of the missing aircraft.
Throughout the search, the ATSB has issued several reports updating the definition of the search
area based on analysis progressively refined, or when new information has come to light. This
document complements those reports and provides a summary of the detailed analysis of the
satellite data combined with new evidence derived from the modelling of the drift of debris from
the aircraft.
The experts attending the meeting considered:
      •    The results of the search to date.
      •    Satellite communication metadata and its analysis including methodology, assumptions,
           limitations, the probability distributions of possible flight paths, and validation results.
      •    Results from simulations and the aircraft manufacturer’s analysis of aircraft performance.
      •    The width of the search area based on what is known about the end of the flight.
      •    Hydro-acoustic analysis potentially relevant to the search.
      •    Failure analysis of recovered debris.
      •    Drift analysis of aircraft debris.
For background information, please refer to the previous ATSB publications available online at
www.atsb.gov.au/mh370
The updated independent analysis of the satellite data and the drift analysis consistently identified
                                                                th    1
the most likely impact location of MH370 as being close to the 7 arc (within ~25 NM) and
bounded by latitudes of approximately 33°S to 36°S.
There is a high degree of confidence that the previously identified underwater area searched to
date does not contain the missing aircraft. Given the elimination of this area, the experts identified
an area of approximately 25,000 km² as the area with the highest probability of containing the
wreckage of the aircraft. The experts concluded that, if this area were to be searched, prospective
areas for locating the aircraft wreckage, based on all the analysis to date, would be exhausted.




1
     The 7th arc is an arc of possible aircraft positions, equidistant from Inmarsat’s Indian Ocean Region satellite, where the
     accident aircraft made the final series of satellite communications transmissions. It is the key datum in the search for
     MH370 and its derivation is described in previous ATSB search area definition reports.
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The First Principles Review
In May 2014 the Governments of Australia, Malaysia, and People’s Republic of China agreed that
the Australian Transport Safety Bureau (ATSB) would coordinate the underwater search for
MH370. The primary objective was to assist the ICAO Annex 13 investigation by locating and
positively identifying the aircraft wreckage. It was also essential that any searched area assessed
as not containing the aircraft could be discounted with a high degree of certainty.
In November 2016, the high priority underwater search area defined in the ATSB’s previous
reports was in its final stages of being searched. As such, the ATSB determined that a review of
all available information relating to the search area definition was required. Participants at the
three-day meeting held from 2-4 November 2016 at the ATSB office in Canberra included experts
from each field of expertise where information was available to assist in the search area
determination.
Accordingly, there were representatives at the meeting from all of the organisations participating in
the Search Strategy Working Group including Australia’s Defence Science and Technology Group
(DST Group), Boeing, Thales, Inmarsat, the National Transportation Safety Board of the US, the
Air Accidents Investigation Branch of the UK and the Department of Civil Aviation, Malaysia. In
addition, there were representatives from the Commonwealth Scientific and Industrial Research
Organisation (CSIRO), Geoscience Australia, Curtin University, Malaysia Airlines and the People’s
Republic of China.
The aim of the First Principles Review meeting was to consider the results of the underwater
search to date, examine the data and analysis associated with the accident flight, and the
definition of the search area. The meeting also focussed on new analysis relating to recovered
aircraft debris.



Abbreviated minutes
The first day of the meeting focused on a comprehensive review of the satellite communications
(SATCOM) data, and the analysis methods used to estimate the aircraft’s final location. The
meeting included presentations from all organisations with subject matter expertise related to the
SATCOM system. The review re-examined the detailed assumptions, calculation methods, and
validations that led to the definition of the search area. The analyses had been verified using data
from previous flights. The meeting participants determined that techniques used were acceptable
and the results for the analysis of the accident flight were valid.
The second day of the meeting focused on the debris that was recovered from the islands to the
east of Africa and the African coast from Tanzania to South Africa. CSIRO presented the analysis
which examined the rate of movement (drift) of the flaperon (found on La Réunion Island in 2015)
and other items, and its correlation to drift models. The results of this analysis identified an area of
likely origin of the recovered debris (i.e. the aircraft’s impact location). ATSB experts presented
conclusions from the examination of the recovered flap section with respect to the likely
configuration of the aircraft at the end of flight. The meeting participants determined that the
analysis presented on the debris and subsequent results were valid.
The results of the underwater search were also presented including the search methods,
completed coverage, sonar data interpretation, quality assurance and confidence in the results. A
presentation on the hydro-acoustic data at the time of the accident allowed meeting participants to
determine that hydro-acoustic analysis did not contribute any useful new information to the
search.
On the third day, the meeting examined how the results of the search to date, the flight path
modelling based on the satellite data, the drift modelling and the debris analysis may assist in the
definition of any future search activities and the priorities for such activities.

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Underwater search
Background
In May 2014, the ATSB developed the technical specifications for the search systems to be used
in the underwater search for MH370. These specifications were based on consideration and
consultation with experts in deep water search and recovery operations. The search for Air France
447 (AF447) in the Atlantic ocean from 2009 to 2011 was the most recent analogous deep water
search operation for an aircraft. The ATSB’s operational search team consulted extensively with
the French Bureau d'Enquêtes et d'Analyses (BEA), the organisation responsible for the AF447
search and recovery and the technical experts involved in that search. A conservative requirement
was developed for the search for MH370 that the search equipment must have the ability to detect
an object of dimensions 1 m x 1 m x 2 m, the approximate size of the B777 engines, without
cowlings.
Planning focused on selecting an effective, efficient method to search a very large area of the
seafloor (at that time up to 60,000 km²) in ultra-deep water in often poor weather conditions and
therefore 6000 m rated deep tow vehicles were selected as the primary search system.
The underwater search required a phased approach given the unknown composition and
topography of the seafloor in the search area. Before the high resolution sonar search
commenced, a bathymetric survey was conducted to ensure that the deep tow vehicles to be used
in the search could be navigated safely and efficiently close to the sea floor. The bathymetric
survey work commenced in June 2014 using hull-mounted multibeam sonar systems on the
vessels Fugro Equator and Zhu Kezhen.
Once sufficient area had been surveyed, deep tow operations commenced using two vessels: the
Malaysian directly funded vessel Go Phoenix, and the ATSB contracted vessel Fugro Discovery.
A deep tow search system was also mobilised on Fugro Equator when that vessel had completed
the initial bathymetric survey work.
From late 2014 through 2015, deep tow search operations focused on searching the areas
                 th
adjacent to the 7 arc between latitudes 32.8°S and 39°S. Go Phoenix was tasked to search from
32.8°S to 34.5°S in the northern section of the search area while the two Fugro vessels were
tasked to search from 34.5°S to 39°S in the south.
In April 2015, GO Phoenix completed the contract with the Malaysian Government and departed
the search area. At this time, the tripartite Governments of Australia, Malaysia, and the People’s
Republic of China agreed to expand the search area to 120,000 km². Deep tow search operations
continued throughout the winter months with the two Fugro vessels.
In November 2015, additional analysis of the SATCOM data and flight path modelling was
completed by DST Group. This work resulted in the search area being prioritised between 36°S
                                                th
and 39.3°S, and up to 40 NM either side of the 7 arc. Search activities have been largely focused
in this area since that time.
Deep tow search operations were supplemented each summer by autonomous underwater
vehicle (AUV) campaigns. Better weather in the summer months allowed for efficient AUV
operations in the search area. The AUV was used to search areas where the seafloor terrain was
difficult for the deep tow systems to safely navigate and effectively search. The AUV was initially
mobilised on Fugro Supporter during the summer of 2014/15, then on Havila Harmony in the
summer of 2015/16 and is currently mobilised on Fugro Equator.
In February 2016, the Chinese vessel Dong Hai Jiu 101 joined the search, initially equipped with
the same deep tow system which was mobilised on Go Phoenix. A remotely operated vehicle
(ROV) was also mobilised on the vessel some months later and was used in the latter part of 2016
to investigate and discount a number of sonar contacts detected during deep tow and AUV search
operations.
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Defining the search method
When defining the search method, debris fields from previous air crashes into deep water were
reviewed. The most relevant accident, Air France flight 447, was a similar sized aircraft and the
wreckage was recovered from a depth of water similar to depths in the MH370 search area. The
AF447 debris field was approximately 600 m x 200 m in size and at a depth of 3,980 m.
Figure 1. Air France 447 debris field overlaid to scale on a swath of MH370 deep tow
sonar data.




Source: Fugro / BEA / ATSB

Figure 2. Air France 447 engines on the seafloor.




Source: BEA


Side scan sonar
The feature detection capability of a conventional side scan sonar system is a function of several
factors and operational parameters. The frequency of the sonar signal, the transmit/receive cycle
(range scale), acoustic energy levels and system noise levels are some of the main factors.
Sonar coverage rates are a function of the sonar's effective range (swath) and the speed of the
sonar system over the sea floor. Lower frequency systems typically have greater range capability
however longer range scales also have longer transmit cycles between “pings” and therefore
fewer "pings" reflect off an individual target than would occur with using shorter range scales for a
given speed through the water. This essentially lowers the detection capability. Using slower tow

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speeds can increase the number of "pings" on a target however this directly impacts sea floor
coverage rates.
Therefore the frequency, feature detection capability, resolution required, and rate of coverage of
sonar systems are all related and need to be considered and carefully weighed based on the
requirements of the survey (or search). For the search for MH370 with a basic requirement to
detect an object two cubic metres in size, an optimal range and associated coverage rate was
selected based on the feature detection capability of the sonar system.
Fugro’s Edgetech deep tow vehicle (rated to 6,000 m) and Hugin 1000 AUV (rated to 4,500 m) are
both fitted with dual frequency 75/410 kHz side scan sonar transducers with 75 kHz used for
primary coverage. The deep tow vehicles are operated at speeds between 2.5 and 3 knots and
the AUV at 3.5 knots (generally using a lower range scale than the deep tow vehicles). At these
speeds the deep tow vehicles can consistently achieve the required detection capability with a
swath width of 2000 m.
Another important coverage consideration for the sonar search systems is the side scan sonar
“blind spot” in the nadir area directly beneath the vehicle. This can impact the amount of overlap
required between adjacent search lines and therefore the overall seafloor coverage rate. The
vehicles used in the search (deep tow and AUV) had an independent sonar instrument to cover
the nadir area (a multibeam echo sounder) rather than rely on a very large overlap between
adjacent search lines to cover the nadir area.
Similarly, accurate positioning of the sonar vehicle reduces the overlap required at the edge of the
swath to ensure complete coverage between search lines. The depth of the water in the search
area resulted in the deep tow sonar vehicle being up to 9 km behind the search vessel, which also
necessitated an accurate positioning system for the deep tow vehicles. An inertial navigation
system in each vehicle was used to provide primary positioning which was corrected to an
accuracy of around 50 metres using a very long range ultra-short baseline (USBL) acoustic
positioning system.
The Hugin 4500 AUV was also positioned using a USBL system. During AUV operations the
support vessel is manoeuvred on the surface to closely track the position of the AUV as it surveys
the seafloor below and therefore positional accuracy for the AUV is higher than for the deep tow
systems given the shorter range (distance) from the vessel to the vehicle.
Figure 3. Fugro search vehicles, Edgetech deep tow and Kongsberg Hugin 1000 AUV.




Source: Fugro


Synthetic Aperture Sonar
The SL Hydrospheric LLC ProSAS SLH PS-60 (ProSAS) deep tow vehicle, mobilised at different
times in the search on both Go Phoenix and Dong Hai Jiu 101, was the latest generation of deep
water (rated to 6,000 m) towed sonar systems. It was equipped with a 60 kHz synthetic aperture
sonar (SAS) system which was able to achieve higher resolutions at longer ranges compared to
traditional side scan sonar systems. The SAS processing combines data from several individual

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sonar “pings” in a sequence with highly accurate inertial navigation data to build a map of the
seafloor with a resolution of 10 cm.
The ProSAS vehicle was operated at a speed of around 1.8 knots, achieving a swath of 2,000 m
(range and speed are directly related for a SAS system). The ProSAS deep tow system was also
equipped with a multibeam echo sounder to cover the nadir region.
Figure 4. ProSAS SLH PS-60 deep tow vehicle




Source: SL Hydrospheric LLC


Remotely Operated Vehicle
Phoenix International Holding’s Remora III remotely operated vehicle (ROV) was used late in
2016 to examine sonar contacts of interest. Unlike the AUV, the ROV remained tethered to, and
controlled from, the support vessel. The ROV was rated to a depth of 6,000 m and was fitted with
a camera system (video and still), scanning sonar, manipulators (to gather samples), and a USBL
positioning system. In good weather the ROV was able to be deployed, dive, survey and film the
target, return to the surface and be recovered by the vessel in 5 to 6 hours.
Figure 5. Remora III remotely operated vehicle.




Source: Phoenix International Holdings


Validating the search systems
The capability of every sonar system used in the search for MH370 was tested over a purpose
built sonar test range prior to commencing operations and after any significant maintenance. The
test range consisted of five purpose built targets spread across 1,150 m on the seafloor in a water
depth of 650 m. All vessels were required to demonstrate their sonar vehicle’s ability to detect and

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accurately depict the test range targets in the sonar data and the satisfactory operation of the
complete search system before transiting to the search area.
Figure 6. Test targets on the test range (images captured by AUV camera).




Source: Fugro


Analysing the sonar data
Analysis of the sonar data started at the time of acquisition (data was transmitted up the tow cable
from the deep tow systems in real time) which was continuously monitored by experienced sonar
data analysts on each of the search vessels. The quality of the data, position, speed and altitude
of the deep tow vehicle were also monitored continuously by the mission crew and independently
by an ATSB client representative on each search vessel. Sonar contacts of preliminary interest
were marked at this time.
For the Fugro vessels, the sonar data was then streamed from the vessel, via satellite, to the
Fugro data analysis team in Perth. It was then analysed for quality, coverage and contacts by a
team of sonar data specialists and geophysicists. The data was then provided to the ATSB.
For the ProSAS sonar data, after preliminary analysis on board the search vessel (Go Phoenix or
Dong Hai Jiu 101), it was stored on board until port calls when it was provided to the ATSB.
All search data was checked again for quality, coverage and contacts by geospatial information
systems (GIS) staff in the ATSB’s Canberra office before being integrated into coverage maps,
including the bathymetry information, and prepared for storage.
Data analysis was also performed by the ATSB’s quality assurance manager based in the USA
and finally by independent highly experienced sonar data experts also based in the USA.

Sonar contacts
Sonar contacts (anomalous features) identified in the sonar data were classified in three ways:
level 3 contacts were marked but assessed as unlikely to be related to the aircraft, level 2 contacts
were marked but assessed as only possibly being related to the aircraft, and level 1 contacts were
of high interest and warranted immediate further investigation. To date, 605 level 3 contacts, 39
level 2 contacts, and two level 1 contacts have been identified. The two level 1 contacts were
investigated and found to be the iron remains of a timber shipwreck and a scattered rock field.
In total 74 sonar contacts have been investigated and eliminated (as being related to MH370) by
the AUV, ROV, or a deep tow system (using lower range scales/higher frequency sonar/optical
imaging).




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Figure 7. Deep tow data of level 1 sonar contact




Source: Fugro / ATSB

Figure 8. Higher resolution AUV sonar data and optical imagery of shipwreck number 1.




Source: Fugro


Sonar coverage
The topography of the seafloor in the search area was such that the deep tow vehicles achieved
approximately 97% sonar coverage. The remaining 3% represented areas where the topography
or composition of the seafloor or resulted in gaps in the sonar coverage, mostly associated with:
     •    terrain shadowing, where the terrain masked the area behind it;
     •    terrain avoidance, where the tow vehicle had to be raised and lowered to negotiate the
          terrain; and,




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     •    lower probability of detection (LPD), where there was sonar coverage, but the geology
          comprising the seafloor has the potential to obscure the presence of an aircraft debris
          field.
Figure 9. Deep tow sonar data showing an area of complex seafloor topography in the
search area and associated sonar coverage classifications.




Source: Fugro / ATSB

In addition to terrain shadowing and terrain avoidance, there were small areas of the seafloor
where failures of the search equipment (mostly multibeam nadir cover) resulted in small gaps in
the sonar coverage. Areas which were large enough to contain an aircraft debris field (greater
                                                                                                th
than 200 m x 200 m not including LPD areas) were scheduled for resurvey. Areas closer to the 7
arc were given priority for this work.
Areas designated as LPD could be eliminated with varying degrees of confidence (between 50%
and 90%) depending on the texture and composition of the seabed in these areas and their ability
to obscure any aircraft debris. Approximately 35% of the LPD areas have been searched twice (or
more) by various sonar sensors on multiple passes.
Table 1. Current sonar coverage statistics for the indicative search area (between 36°S
and 39.3°S) 27.5 NM to the west and 25 NM to the east of the 7th arc, areas greater than
200 m x 200 m.
                                                                2   Percentage
                 Sonar data ‘type’                  Area km
                                                                      of area
Lower Probability of Detection areas                   606.7           0.98%
Combined: terrain shadowing, terrain
avoidance, equipment failure.                          119.29          0.19%

High resolution sonar coverage of the high priority portion of the indicative search area is very high
and will be ~99.9% by the time the current AUV campaign is completed. The overall confidence of
detection of the MH370 debris field within the current search area is >95%.
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Area searched
Figure 10 shows the area searched to date. Lighter grey areas have been searched using the
Fugro deep tow vehicles with conventional side scan sonar for primary coverage, darker grey
areas are the portions searched using the ProSAS synthetic aperture sonar deep tow system. The
purple box bounds the indicative search area between latitudes 36°S and 39.3°S which has been
                                                                th
searched to ~41 NM to the east and ~38 NM to the west of the 7 arc. To the north, between
                                     th
latitudes 32.8°S and 36°S along the 7 arc the area has been searched to widths which vary from
                                                              th
~12 to 17 NM to the east and ~10 to 21 NM to the west of the 7 arc.
Figure 10. Area searched for MH370




Source: ATSB




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Satellite data
Throughout the search, data from a communications satellite along with aircraft performance data
has been used to attempt to reconstruct the flight path of MH370 from the time of the last radar
                                                                                        2
contact. Information recorded by a satellite ground station at the time of handshakes with MH370
was used to estimate the track of the aircraft. SATCOM information from two unanswered ground
to air telephone calls was also available. This information showed that the flight continued for
approximately five and a half hours after the last radar data.
The methodologies for the calculation of flight paths were included in the ATSB’s reports MH370 –
Definition of Underwater Search Areas report of 26 June 2014 and updated on 18 August 2014,
MH370 – Flight Path Analysis Update of 8 October 2014 and MH370 – Definition of Underwater
Search Area Update of December 2015.
The calculations identified seven ‘arcs’ which lead to the definition of the search area along the
                                   th
current north-south line of the 7 arc (which is regarded as the primary datum for determining the
                                                                        th
search area). It was then necessary to define which section of the 7 arc has the highest
likelihood of finding the aircraft and the width of the search area to the east and west of the arc;
encompassing aircraft performance limits and end of flight scenarios.
The DST Group provided expert analysis of the available SATCOM data relating to MH370. The
analysis used models of the Inmarsat SATCOM data, aircraft dynamics, and meteorological data
to determine likely flight paths. The DST Group analysis has been published in the book, Bayesian
Methods in the Search for MH370. The methodology was subjected to a set of validation
experiments to ensure that the set of predicted flight paths aligned with actual flight data for
previous flights of the accident aircraft (registered 9M-MRO) and other flights in the air at the same
time as the accident. Further burst frequency offset (BFO) analysis performed by DST Group was
contained in the ATSB report of 2 November 2016, MH370—Search and debris examination
update.
At the First Principles Review meeting, experts discussed their work to refine the analysis and
considered the possible analysis techniques, validations and accident result scenarios. Their
particular focus was the effect of the sonar search results to date on the probability map for the
search area.

Search results and likely aircraft autopilot mode
The DST Group analysis which used a dynamic model of the aircraft, examined five different
lateral aircraft autopilot control modes:
     1. Constant magnetic heading (CMH).
     2. Constant true heading (CTH).
     3. Constant magnetic track (CMT).
     4. Constant true track (CTT).
     5. Lateral navigation (LNAV).
The initial analysis assumed equal likelihood (uniform probability) across the lateral aircraft modes
throughout the southern portion of the accident flight. The results of the analysis suggested that
based on the satellite data, the aircraft was more likely to be operating at the time in the CTT or
LNAV lateral control modes. These lateral control modes generally resulted in the aircraft’s flight
path being towards the southern end of the search area. The remaining three lateral control
modes generally resulted in the aircraft’s flight path ending north of the CTT and LNAV results, up
                               th
to 33°S in latitude along the 7 arc.

2
    A handshake in satellite communication is a series of signalling messages that establish or maintain a communication
    channel.
                                                           15
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The southern portion of the search area which mainly encompasses the CTT and LNAV lateral
control mode results has been thoroughly searched with underwater assets (deep tow, AUV, and
ROV). Based on the results of the underwater search, the probability distribution was updated to
reflect the new information of the unsuccessful search which then favoured the other control
modes.

Flight crew advice
During the First Principles Review meeting, flight crew with extensive experience on the aircraft
type indicated that the aircraft is usually flown in the LNAV or CMH lateral control modes.
This information, combined with the results from the areas already searched to increases the
likelihood in the northern section of the probability map in Figure 13.




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Width of the search area
The following factors which affect the width of the search were defined previously, in the ATSB
publication MH370 – Definition of Underwater Search Area Update of December 2015:
     •    Tolerance in the calculation of the arcs.
     •    A series of end of flight simulations conducted in 2014.
     •    A basic turn analysis.
     •    A review of previous accidents.
     •    The maximum range of the aircraft if glided after fuel exhaustion.

Analysis of these factors resulted in three areas of decreasing probability at 20 NM, 40 NM, and
                   th
100 NM from the 7 arc.
The latest ATSB report of 2 November 2016, MH370—Search and debris examination update,
provided new information relating to the end of flight. This new information included:
     •    The analysis of the debris recovered from MH370 indicating that the flaps were likely in a
          retracted position.
     •    The analysis of the BFO from the final two SATCOM transmissions which indicated that
          the aircraft was likely to be on an unstable flight path.
     •    Results from recent simulations showed high rates of descent broadly consistent with the
          BFO analysis. These simulations indicated that the aircraft was likely to be within 15 NM
                  th
          of the 7 arc.
This information provided significantly more weight to the aircraft being located closer to the arc
                                                                                            th
than the ATSB concluded in 2015—probably within 25 NM, with locations closer to the 7 arc a
higher likelihood.
This analysis, and the implications for the width of the search area were presented at the First
Principles Review meeting. All participants were in general agreement that the distance required
                                                                    th
to be searched from the arc could be reduced to 25 NM from the 7 arc with a weighting to the
                                    3
west to account for the arc altitude .




3
    The reference 7th arc (search datum) is at an altitude of 40,000 ft. It is likely that the aircraft was at a lower altitude (and
    therefore closer to the sub-satellite point) at the time of the final SATCOM transmissions and so the distance to the
    west of the reference arc which should be searched is slightly more.
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Drift analysis
More than 20 items of debris have been recovered and identified as likely to be, almost certainly
or definitely originating from MH370. The first of these was the flaperon, found on La Réunion
Island on 29 July 2015. Other items have been located along the east and south coast of Africa,
the east coast of Madagascar and the Islands of Mauritius and Rodrigues in the Indian Ocean. A
complete list of recovered items was published by the Malaysian investigation team and can be
found at www.mh370.gov.my/index.php/en/.
An oceanographer from CSIRO was involved in the initial sea surface search for MH370
coordinated by the Australian Maritime Safety authority (AMSA). CSIRO continued to assist in the
search for MH370 by completing work predicting landfall areas for floating debris, and analysing
the drift of recovered debris.
In April 2016, the ATSB commissioned CSIRO to perform a detailed study of the drift of the
recovered debris. The final report of this study has been released concurrently with this report and
should be read in conjunction with this section. The CSIRO report and can be found on the ATSB
website: www.atsb.gov.au/mh370
                                                                                                                  th
The aim of the CSIRO drift study was to determine the probability of locations along the 7 arc
(defined by SATCOM analysis as between 45°S and 22°S) being the origin of the recovered
debris.
A forward-tracking numerical simulation was created. Within the simulation, flaperons and other
                                          th
modelled debris were deployed along the 7 arc and allowed to drift freely. The simulated paths of
the debris were calculated and compared against information from three sets of observations:
     1. The extensive aerial and surface search conducted between 18 March and 28 April 2014.
     2. The absence of debris from MH370 found anywhere along the coast of Australia.
     3. The timing and location of parts from MH370 found on islands in the western Indian
        Ocean and on the east coast of the African continent.
The following is a summary of the results from the CSIRO drift analysis:
     1. From the number and size of items found to date from MH370 there was definitely a
        surface debris field, so the fact that the sea surface search detected no wreckage argues
        quite strongly that the site where the aircraft entered the water was not between latitudes
              4                       th
        32°S and 25°S along the 7 arc. Those latitudes are also contra-indicated by an absence
        of aircraft parts being found off Africa earlier than December 2015.
     2. Latitudes south of 39°S are quite strongly contra-indicated by the arrival times of the
        flaperon and other debris reaching Africa, and the fact that those items were many while
        findings anywhere on the Australian coastline were nil.
     3. The absence of debris being found on African shores in 2014 suggests that the impact
        site was likely not north of 25°S.
                                                                             th
     4. Assuming that the crash was within ~25 NM of the 7 arc (ATSB 2016), this leaves only
        points between 36°S and 32°S that are less than ~25NM from the arc but outside the
        area that was searched in late 2014 and early 2015.
                                                                                  th
     5. There is a region within the 36-32°S segment of the 7 arc, near 35°S that is most
        consistent with all of the following lines of evidence, taken together including:
          a) The absence of detections during the 2014 surface search.
          b) The absence of findings on the WA coastline.

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    Latitudes and longitudes specified as integers, or accompanied by the word ‘near’ in the drift modelling section of the
    report have an implied uncertainty of 1/2°.
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     c) The July 2015 arrival time of the flaperon at La Reunion Island.
     d) The December 2015 and onwards (only) arrival times of other debris in the western
        Indian Ocean.




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Residual Probability Map
DST Group have used the Bayesian approach to incorporate multiple sources of analysis into a
single probability map, or probability density function (PDF), of the location of the aircraft.
The main PDF is generated from the analysis of the satellite data and the search area width
analysis. The residual PDFs show the effects of the other analyses (i.e. search results and drift
analysis) on the probabilities.
Figure 11 shows the result of the SATCOM PDF updated with the search results. The areas
searched were removed from the PDF. The residual probability is located in areas yet to be
searched, with two clear areas of interest: north of the current search area and south of the
current search area.
Figure 11. Updated probability distribution with the results of the underwater search.




Source: Google Earth / DST Group




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Figure 12 shows the SATCOM PDF with the CSIRO drift study of the flaperon arrival at La
Reunion Island likelihood overlaid. The alignment of the high likelihood point of origin of the
flaperon from the drift analysis (green) and the peak of the northern SATCOM analysis PDF can
be clearly seen (red circle).
Figure 12. Updated probability distribution with the results of the underwater search and
           the drift analysis results overlaid




Source: Google Earth / DST Group




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Figure 13 shows the search probability distribution based on the SATCOM data and CSIRO drift
analysis. The section south of the indicative search area (pink box in Figure 12) becomes much less
favourable once the drift results are incorporated.
Figure 13. Updated probability distribution with the results of the underwater search and
           the drift analysis




Source: Google Earth / DST Group




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Conclusions
    1. There is a very high level of confidence in the search results to date in the current
       indicative search area. The high resolution sonar coverage is very high and the data has
       been subjected to a very thorough analysis. The area has been searched to a level of
       confidence >95% without identifying the aircraft debris field.
    2. The analysis of the last two SATCOM transmissions, the likely positon of the aircraft’s
       flaps at impact and results from recent end of flight simulations has allowed a revision of
                                                               th
       the distance required to be searched away from the 7 arc. 99% of the DST Group
       analysis results lie within 25 NM to the east and west of the arc.
    3. A residual probability map based on the comprehensive satellite communication data
       analysis and updated with the latest search results and the CSIRO drift analysis identified
                                                                                           th
       a remaining area of high probability between latitudes 32.5°S and 36°S along the 7 arc.
    4. The participants of the First Principles Review were in agreement on the need to search
       an additional area representing approximately 25,000 km² (the orange bordered area in
       Figure 14). Based on the analysis to date, completion of this area would exhaust all
       prospective areas for the presence of MH370.


Figure 14. Remaining prospective area to find the wreckage of MH370




Source: ATSB




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    •   Commonwealth Scientific and Industrial Research Organisation
    •   Curtin University
    •   Department of Civil Aviation, Malaysia
    •   Inmarsat
    •   Malaysian Airlines Berhad
    •   Malaysian Ministry of Transport
    •   National Transportation Safety Board (US)
    •   Thales
Those involved have dedicated many hours outside of normal duties to advance the collective
understanding of the event. The main focus has always been in finding the aircraft to assist the
Malaysian investigation team and to bring closure to the families of the passengers and crew of
MH370.




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